Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 1 of 7




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-cv-24203-GAYLES/OTAZO-REYES

     MARIA LARIN,

                 Plaintiff,
     v.

     LOVING HEART HOME HEALTH CARE, INC.,
     JOAQUIN MARQUEZ, individually, and
     SONIA MARQUEZ, individually,

                 Defendants.

                                                           /

  DEFENDANTS’ RULE 36(B) MOTION AND MOTION FOR EXTENSION OF TIME TO
           RESPOND TO PLAINTIFF’S FIRST SET OF DISCOVERY

            Defendants Loving Heart Home Health Care, Inc., Joaquin Marquez, and Sonia Marquez

  (collectively “Defendants”) by and through undersigned counsel, hereby move i) for relief

  pursuant to Rule 36(b) of the Federal Rules of Civil Procedure and ii) a two-week extension of

  time to respond to Plaintiff Maria Larin’s (“Plaintiff”) First Request for Production and First Set

  of Interrogatories and states:

            1.       Plaintiff filed a claim of alleged unpaid overtime wages on November 17, 2017.

  (DE 1).

            2.       An Answer and Affirmative Defenses was filed on December 18, 2017. (DE 14).

            3.       The Answer and Affirmative Defenses admitted that Loving Heart satisfied the

  $500,000 gross income threshold associated with enterprise coverage under the FLSA.
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 2 of 7



         4.       On or around January 5, 2018, Plaintiff served a Request for Admissions, First

  Request for Production, and First Set of Interrogatories (“Plaintiff’s Discovery”).

         5.       Plaintiff’s Discovery intermingled each request so that each request was made to

  each Defendant.

         6.       In total then, Plaintiff purported to serve 45 requests for admissions, 246 requests

  for production, and 33 interrogatories.

         7.       A two-week extension of time was requested to respond to Plaintiff’s Discovery.

  The initial request was made February 2, 2017.

         8.       In the February 2, 2017 correspondence seeking a two-week extension,

  Defendants noted that there was a very large amount of discovery requests directed to the issue

  of FLSA enterprise coverage—an issue that had been admitted in the Answer before the

  discovery was served. Accordingly, Defendants asked whether the superfluous requests would

  be withdrawn.

         9.       In the interest of judicial economy and in order to properly confer on the

  requested extension, Defendants waited to receive a response from Plaintiff before filing the

  present motion.

         10.      While the parties exchanged several e-mails after the requested extension,

  Defendants did not receive guidance on whether Plaintiff opposed the relief sought in this

  Motion until this morning.

         11.      This morning (a few hours after the discovery responses were due) Plaintiff’s

  counsel wrote to the undersigned to state that Defendants’ discovery responses were overdue—

  thereby deeming the Request for Admissions to be admitted.




                                                        2
                                             PERERA BARNHART
                  12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 3 of 7



            12.     No indication was provided as to the requested extension until a follow-up e-mail

  was sent. Defendants were then advised that Plaintiff opposes the requested extension.

            13.     Defendants served Plaintiff with their objections and responses to Plaintiff’s

  Request for Admissions earlier today, February 6, 2018.

                                              MEMORANDUM OF LAW

            From a technical standpoint, Rule 36(a)(3) requires a response to a request for admissions

  within thirty (30) days. Under Rule 36(b), however, “the court may permit withdrawal or

  amendment if it would promote the presentation of the merits of the action and if the court is not

  persuaded that it would prejudice the requesting party in maintaining or defending the action on

  the merits.”

            In the Eleventh Circuit, there is a two-part test for determining whether a Rule 36(b)

  motion should be granted. Perez v. New Auto Image Marketing, Inc., 2016 WL 7540272 at *3

  (S.D. Fla. May 20, 2016) (citing Perez v. Miami-Dade Cty., 297 F. 3d 1255, 1264 (11th Cir.

  2002)).

            Courts should consider whether (1) the withdrawal will promote the presentation of
            the merits, and (2) the withdrawal will prejudice the party who obtained the
            admissions in its presentation of the case. Id. The first part of the test is met if the
            withdrawal “aids in the ‘ascertainment of the truth and the development of the
            merits.’” Id. (quoting Smith v. First Nat. Bank of Atlanta, 837 F.2d 1575, 1577 (11th
            Cir. 1988)). The prejudice contemplated at the second step “is not simply that the
            party who initially obtained the admission will now have to convince the fact finder
            of its truth. Rather, it relates to the difficulty a party may face in proving its case, e.g.,
            caused by the unavailability of key witnesses because of the sudden need to obtain
            evidence with respect to the questions previously answered by the admissions.” Id.
            (quoting Brook Village North Assoc. v. General Elec. Co., 686 F.2d 66, 70 (1st Cir.
            1982)).

  Perez v. New Auto Image Marketing, Inc., 2016 WL 7540272 at *3.




                                                          3
                                               PERERA BARNHART
                    12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 4 of 7



         A. Precluding Admissions Of Material Disputed Issues Will Promote A
            Determination On The Merits.

         Through the Request for Admissions, Plaintiff sought admissions that Defendants

  employed Plaintiff, Plaintiff worked the hours alleged, and Defendants failed to pay Plaintiff in

  accordance with the FLSA—all of which Defendants have denied. If these requests are deemed

  admitted, there would be little to nothing left to litigate. Therefore, the first factor regarding

  promotion of presentation of the merits militates in favor of granting Rule 36(b) relief.

         This was the determination made in Blissful Existence, Ltd. v. Kiln Syndicate 510 at

  Lloyds, 2014 WL 12580034, at *1 (S.D. Fla. August 12, 2014). In Blissful Existence, this Court,

  through Judge Gayles, found as follows:

         While it appears that Plaintiff’s response was untimely, the Court will exercise its
         discretion and permit Plaintiff to withdraw its technical “admissions.” The Court
         finds that doing so will ensure that the case is resolved on its merits and not based on
         a discovery delay.

         Id.

         The plaintiff in Blissful Existence served responses to the request for admissions thirty

  (30) days late. In the present case, the responses were served only a few hours after the deadline

  to respond.

         B. Plaintiff Was Not Prejudiced By The Few Hours That Transpired After The
            Deadline.

         The second part of the 36(b) analysis also favors relief in this matter. This is because

  “the prejudice contemplated at the second step ‘is not simply that the party who initially obtained

  the admission will now have to convince the fact finder of its truth. Rather, it relates to the

  difficulty a party may face in proving its case, e.g., caused by the unavailability of key witnesses

  because of the sudden need to obtain evidence with respect to the questions previously answered

  by the admissions.’” New Auto Image Marketing, Inc., 2016 WL 7540272 at *3.
                                                       4
                                            PERERA BARNHART
                 12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 5 of 7



          The current case is still in a state of infancy. And, even if it was not, Plaintiff could not be

  prejudiced by receiving the objections and responses to the Request for Admissions a few hours

  late. This did not impact the ability to conduct proper discovery. Neither could it have impacted

  the ability to secure the proper witnesses for trial.

          WHEREFORE, for the foregoing reasons, Defendants respectfully request that this

  Honorable Court exercise its discretion and:

          (a) Grant Defendants’ Rule 36(b) motion;

          (b) Treat any technical admissions as withdrawn;

          (c) Deem Defendants’ Objections and Responses to Plaintiff’s Request for Admissions,

              served today, to be properly served and contain the operative objections and

              responses;

          (d) Grant Defendants’ requested extension to respond to Plaintiff’s First Set of

              Interrogatories and First Request for Production, making the objections and responses

              due on or before Monday, February 19, 2018; and

          (e) Grant all other relief this Honorable Court deems just and proper.

                            CERTIFICATE OF GOOD FAITH CONFERRAL

          Undersigned counsel for Defendants has conferred with counsel for Plaintiff who

  opposes the relief sought herein.




                                                       5
                                            PERERA BARNHART
                 12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 6 of 7



  Dated: February 6, 2018                        Respectfully submitted,


                                                 By: /s/ J. Freddy Perera
                                                 J. Freddy Perera, Esq.
                                                 Florida Bar No. 93625
                                                 freddy@pererabarnhart.com
                                                 Valerie Barnhart, Esq.
                                                 Florida Bar No. 88549
                                                 valerie@pererabarnhart.com
                                                 PERERA BARNHART
                                                 12555 Orange Drive, Suite 268
                                                 Davie, Florida 33330
                                                 Telephone: 786-485-5232
                                                 Counsel for Defendants


                                    CERTIFICATE OF SERVICE

         I hereby certify that on February 6, 2018, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that a true and correct copy of the
  foregoing document was served via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically Notices of Electronic Filing on all counsel or parties of record on the
  Service List below.
                                          By: /s/ J. Freddy Perera
                                          J. Freddy Perera, Esq.




                                             SERVICE LIST

  J.H. Zidell, Esq.
  Florida Bar Number: 0010121
  Email: zabogado@AOL.COM
  Rivkah F. Jaff, Esq.
  Florida Bar Number: 107511
  Email: rivkah.jaff@gmail.com
  J.H. Zidell, P.A.
  300 71st Street, Suite 605
                                                      6
                                           PERERA BARNHART
                12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
Case 1:17-cv-24203-DPG Document 23 Entered on FLSD Docket 02/06/2018 Page 7 of 7



  Miami Beach, Florida 33141
  Tel: (305) 865-6766
  Fax: (305) 865-7167

  Attorney for Plaintiff

  VIA CM/ECF




                                                       7
                                            PERERA BARNHART
                 12555 ORANGE DRIVE · SECOND FLOOR · DAVIE, FLORIDA 33330 · PHONE (786) 485.5232
